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     UNITED STATES OF AMERICA
13
                            UNITED STATES DISTRICT COURT
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15                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                  No. CR 2:24-cr-00091-ODW
17
               Plaintiff,                       DECLARATION OF LEO J. WISE IN
18                                              SUPPORT OF GOVERNMENT’S
                      v.                        FOURTH MOTION IN LIMINE TO
19                                              EXCLUDE ALLEGED DEFECTS IN
     ALEXANDER SMIRNOV,                         THE PROSECUTION
20
21             Defendant.
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 1                               DECLARATION OF LEO J. WISE
 2   I, Leo J. Wise, declare as follows:
 3      1. I am an attorney of record for the United States in the above-captioned case. I have
 4         personal knowledge of the matters contained in this declaration and, if called as a
 5         witness to testify, I would competently testify to them. This declaration is offered
 6         in support of the government’s Fourth Motion in Limine to Exclude Alleged Defects
 7         in the Prosecution.
 8      2. The defendant opposes the motion, suggesting that he intends to improperly
 9         introduce evidence, argument, or questioning that suggests or otherwise implies that
10         the prosecution is politically motivated, that the government is selectively or
11         vindictively prosecuting him, that government agents or prosecutors engaged in
12         outrageous government misconduct, that the prosecution of him is unlawful for any
13         reason, that the prosecution is costly or inappropriately funded, or that the
14         prosecutors or agents are conflicted.
15      3. On Friday, October 25, 2024, my office emailed a letter to counsel for the defendant
16         regarding the subject of the government’s proposed motions in limine, including the
17         Fourth Motion in Limine. On Monday, October 28, 2024, defendant’s counsel
18         emailed his response, opposing the motion and therefore refusing to stipulate that
19         he will not make “arguments or [mention] anything that purports to be evidence that
20         charges are politically motivated or that the Special Counsel’s appointment is
21         inappropriate or unlawful” in the presence of the jury unless and until the Court so
22         rules.
23      4. The government will suffer prejudice if its Fourth Motion in Limine is denied, and
24         the defendant is permitted to introduce evidence of political motivation or unlawful
25         prosecution because such evidence is irrelevant under Federal Rule of Evidence
26         401, inadmissible under Federal Rule of Evidence 402, and would mislead the jury
27         and waste the jury’s time under Federal Rule of Evidence 403.
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 1                    Executed on this 1st day of November, 2024 in Baltimore, MD.
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 3                    Leo J. Wise
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